   Case 2:10-md-02179-CJB-DPC Document 11617-2 Filed 10/09/13 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG              §         MDL NO. 2179
       “DEEPWATER HORIZON” IN THE            §
       GULF OF MEXICO, on April 20, 2010     §
                                             §
Related to:                                  §         JUDGE BARBIER
2:10-08888                                   §
                                             §
Document No. 87503                           §
                                             §         Mag. Judge SHUSHAN
                                             §

                ORDER MEMORANDUM IN SUPPORT FOR EMERGENCY
              MOTION FOR RELIEF AND REQUEST FOR JUDICIAL REVIEW
       FROM THE APPEALS DENIAL OF THE BUSINESS ECONOMIC LOSS CLAIM

    After considering Claimant’s Emergency Motion for Relief and Request for Judicial Review
from the Appeals Denial of the Business Economic Loss Claim, the evidence presented, conduct
of the parties and the arguments of counsel, this court,

     GRANTS the Emergency Motion for Relief and Request for Judicial Review and hereby
REVERSE AND REMAND the denial and AWARD Cho Saigon Business and Individual
Economic claim causation and status for the total loss of earned income, plus 10% interest for
the pre/post judgment damages suffered as a result of the Deep Water Horizon Oil Spill on April
20, 2010;

    AND

    REFERS this claim to the DWHCC for an accounting compensation and evaluation award;

    AND

    FINDS there is “good cause” to GRANT $3,800,000.00 as an immediate interim
“Hardship” payment to be deducted from the Claimant’s total award.



                                              SIGNED on _______________, 2013.




                                                 ______________________________
                                                 U.S. DISTRICT JUDGE BARBIER
